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 5                             UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,          )
                                        )
 8                           Plaintiff, )       No. CR-08-0178-LRS-3
        vs.                             )
 9                                      )       ORDER CORRECTING CLERICAL
     THOMAS C. COLLUM, JR.,             )       ERROR
10   a/k/a Thomas Callum, Thomas Curtis )
     Collum, Thomas Curtis Collum, Jr., )
11   Tommy Collum, Thomas Colum,        )
     Christopher J. Stewart,            )
12                                      )
                             Defendant. )
13   ______________________________ )
14         The Court finds the Motion to Correct Clerical Error in Judgment (ECF No. 400)
15   should be granted for the reasons expressed by counsel for both parties. Accordingly, an
16   Amended Judgment reflecting the correction is being entered simultaneous herewith.
17         Dated this 8th day of July, 2011.
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19                                         s/Lonny R. Suko
20                                      LONNY R. SUKO
                               UNITED STATES DISTRICT COURT JUDGE
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     ORDER - 1
